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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
 Southern
 ____________________              Texas
                      District of _________________
                                       (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/1

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1.   Debtor’s name                         Pioneer Energy Services Corp.
                                           ______________________________________________________________________________________________________




2.   All other names debtor used
     in the last 8 years                     3LRQHHU'ULOOLQJ&RPSDQ\
                                           _________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
                                           ______________________________________________________________________________________________________
     trade names, and doing business
     as names                              ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________



3.   Debtor’s federal Employer               7   4       2    0   8   8   6    1 9
                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                            1250 N.E. Loop 410
                                           ______________________________________________               _______________________________________________
                                           Number     Street                                            Number     Street

                                            Suite 1000
                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                            San Antonio                     TX       78209
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                            Bexar
                                           ______________________________________________
                                           County
                                                                                                        See Schedule I
                                                                                                        _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                 http://pioneeres.com/
                                           ____________________________________________________________________________________________________


6.   Type of debtor                         Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


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Debtor
                 Pioneer Energy Services Corp.
                _______________________________________________________                        Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             1 ___
                                            ___ 3 ___
                                                   8 ___
                                                      1

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?                      Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                         Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,, (amount subject to adjustment on
                                                             4/01/ and every 3 years after that).
                                                         
                                                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                            A plan is being filed with this petition.

                                                            Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                          Chapter 12

9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a                          See Schedule II                                                   Affiliate
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                              Southern District of Texas
                                                   District _____________________________________________ When
                                                                                                                             03/01/2020
                                                                                                                             __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________


     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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Debtor
               Pioneer Energy Services Corp.
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this    Check all that apply:
      district?
                                        Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                        A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have       No
      possession of any real            Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.

                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                    attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                    assets or other options).

                                                   Other _______________________________________________________________________________



                                                Where is the property?_____________________________________________________________________
                                                                          Number          Street

                                                                          ____________________________________________________________________

                                                                          _______________________________________         _______     ________________
                                                                          City                                            State       ZIP Code


                                                Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________

                                                         Contact name     ____________________________________________________________________

                                                         Phone            ________________________________




            Statistical and administrative information



13.   Debtor’s estimation of           Check one:
      available funds                   Funds will be available for distribution to unsecured creditors.
                                        After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                        1-49                            1,000-5,000                              25,001-50,000
14.   Estimated number of               50-99                           5,001-10,000                             50,001-100,000
      creditors
                                        100-199                         10,001-25,000                            More than 100,000
                                        200-999

                                        $0-$50,000                      $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                  $50,001-$100,000                $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                        $100,001-$500,000               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                        $500,001-$1 million             $100,000,001-$500 million                More than $50 billion



  Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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Debtor         Pioneer Energy Services Corp.
               _______________________________________________________                         Case number (if known)_____________________________________
               Name



                                         $0-$50,000                         $1,000,001-$10 million                   $500,000,001-$1 billion
16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                         $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                         $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


             Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                            petition.
      debtor
                                           I have been authorized to file this petition on behalf of the debtor.

                                           I have examined the information in this petition and have a reasonable belief that the information is true and
                                            correct.


                                        I declare under penalty of perjury that the foregoing is true and correct.

                                                           03/01/2020
                                            Executed on _________________
                                                        MM / DD / YYYY


                                        8 /s/ Lorne E. Phillips
                                            _____________________________________________              Lorne E. Phillips
                                                                                                       _______________________________________________
                                            Signature of authorized representative of debtor           Printed name

                                                   Chief Financial Officer
                                            Title _________________________________________




18.   Signature of attorney
                                        8 /s/ Jason L. Boland
                                            ___________________________________________               Date          03/01/2020
                                                                                                                    _________________
                                             Signature of attorney for debtor                                       MM   / DD / YYYY



                                             Jason L. Boland
                                            _________________________________________________________________________________________________
                                            Printed name
                                             Norton Rose Fulbright US LLP
                                            _________________________________________________________________________________________________
                                            Firm name
                                             1301 McKinney, Suite 5100
                                            _________________________________________________________________________________________________
                                            Number      Street
                                            Houston
                                            ____________________________________________________           TX
                                                                                                           ____________ 77010-3095
                                                                                                                        ______________________________
                                            City                                                           State        ZIP Code

                                            (713) 651-5151
                                            ____________________________________                           Jason.boland@nortonrosefulbright.com
                                                                                                           __________________________________________
                                            Contact phone                                                  Email address



                                            24040542
                                            ______________________________________________________ TX
                                                                                                   ____________
                                            Bar number                                             State




  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
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                                               Schedule I

                           Address of Property Locations for Various Debtors

                                                                                                    Zip
            Debtor                           Street Address                    City        State
                                                                                                   Code
Pioneer Coiled Tubing Services,   111 West Etienne Road Building 1        Maurice          LA      70555
LLC
Pioneer Coiled Tubing Services,   111 West Etienne Road Building 2        Maurice          LA      70555
LLC
Pioneer Coiled Tubing Services,   3199 Highway 281 North                  George West      TX      78022
LLC
Pioneer Coiled Tubing Services,   3600 Colson Road                        Bryan            TX      77808
LLC
Pioneer Coiled Tubing Services,   490 Signal Drive                        Rock Springs     WY      82901
LLC
Pioneer Coiled Tubing Services,   510 Signal Drive                        Rock Springs     WY      82901
LLC
Pioneer Coiled Tubing Services,   600 17th Street, Suite 2800 South       Denver           CO      80202
LLC
Pioneer Drilling Services, Ltd.    102 Airport Road                       Corpus Christi   TX      78409
Pioneer Drilling Services, Ltd.    1083 North Eighty-Eight Road           Rices Landing    PA      15357
Pioneer Drilling Services, Ltd.   12814 Old Boudreaux Lane                Tomball          TX      77375
Pioneer Drilling Services, Ltd.    1625 17th Street, Suite 306            Denver           CO      80202
Pioneer Drilling Services, Ltd.   16430 N. Eldridge Parkway, Suite E      Tomball          TX      77377
Pioneer Drilling Services, Ltd.   22897 U.S. Highway 270                  Woodward         OK      73801
Pioneer Drilling Services, Ltd.    334 Flato Road                         Corpus Christi   TX      78403
Pioneer Drilling Services, Ltd.    3740 N. U.S. Highway 77                La Grange        TX      78945
Pioneer Drilling Services, Ltd.    4401 East Highway 80                   Midland          TX      79702
Pioneer Drilling Services, Ltd.   7401 E. Ben White Boulevard., Suite     Austin           TX      78741
                                  1000 Building One
Pioneer Drilling Services, Ltd.    99 Progress Lane                       Canonsburg       PA      15317
Pioneer Drilling Services, Ltd.    Lot 3&4 Block 1 & Portion of Block 5   Ector County     TX
Pioneer Well Services, LLC         119 Well Street East                   Williston        ND      58801
Pioneer Well Services, LLC         1262 West Highway 277                  Ninnekah         OK      73067
Pioneer Well Services, LLC         1475 Highway 84 East                   Laurel           MS      39443
Pioneer Well Services, LLC        15195 FM-645                            Palestine        TX      75801
Pioneer Well Services, LLC         1751 Mizell Road                       Liberty          TX      77575
Pioneer Well Services, LLC         2243 FM 1162                           El Campo         TX      77473
Pioneer Well Services, LLC         2418 Clarks Lane                       Bryan            TX      77808
Pioneer Well Services, LLC         2422 Clarks Lane                       Bryan            TX      77808
Pioneer Well Services, LLC         2426 Clarks Lane                       Bryan            TX      77808
Pioneer Well Services, LLC         2619 W. 11th Street Road               Greeley          CO      80634
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Pioneer Well Services, LLC       3091 University Drive East #330        College      TX   77802
                                                                        Station
Pioneer Well Services, LLC       3198 Highway 44                        Alice        TX   78332
Pioneer Well Services, LLC       3509 Colson Road. Suites 100 & 200     Bryan        TX   77808
Pioneer Well Services, LLC       3604 Mt. Pisgah Road                   Kilgore      TX   75662
Pioneer Well Services, LLC       424 Highway 239                        Kennedy      TX   78119
Pioneer Well Services, LLC       850 Lone Tree Circle                   Nunn         CO   80648
Pioneer Wireline Services, LLC   1100A Smede Road                       Broussard    LA   70518
Pioneer Wireline Services, LLC   11906 Jordy Road                       Midland      TX   79707
Pioneer Wireline Services, LLC   12839 I-76 Frontage Road               Ft. Morgan   CO   80701
Pioneer Wireline Services, LLC   1316 Wiler Drive                       Casper       WY   82604
Pioneer Wireline Services, LLC   13730 IH 10 Frontage Road              Converse     TX   78109
Pioneer Wireline Services, LLC   1391 Allen Drive                       Minden       LA   71055
Pioneer Wireline Services, LLC   1708 US Highway 380 E                  Graham       TX   76450
Pioneer Wireline Services, LLC   1846 250th Avenue                      Hays         KS   67601
Pioneer Wireline Services, LLC   191 Telluride St., Suite #10           Brighton     CO   80601
Pioneer Wireline Services, LLC   2564 Sims                              Dickinson    ND   58601
Pioneer Wireline Services, LLC   4019 Chance Lane                       Rosharon     TX   77583
Pioneer Wireline Services, LLC   405 Main Street                        Houston      TX   77002
Pioneer Wireline Services, LLC   4528 Highway 359                       Alice        TX   78332
Pioneer Wireline Services, LLC   589 Spur 91                            Victoria     TX   77905
Pioneer Wireline Services, LLC   600 17th Street, Suite 2800            Denver       CO   80202
Pioneer Wireline Services, LLC   6421 South Sooner Road                 Oklahoma     OK   73135
                                                                        City
Pioneer Wireline Services, LLC    800 Town & Country Boulevard, Suite   Houston      TX   77024
                                 500
Pioneer Wireline Services, LLC   820 North 9th Avenue                   Brighton     CO   80601
Pioneer Wireline Services, LLC   8508 Derrick Avenue                    Williston    ND   58801
Pioneer Wireline Services, LLC    9500 SW 15th Street                   Oklahoma     OK   73128
                                                                        City
Pioneer Wireline Services, LLC   Bunker Site, South of Dwayne Road      Rosharon     TX   77583
Pioneer Wireline Services, LLC   Sec. 31-33W-33S County Road H          Liberal      KS   67901
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                                            Schedule II

                                         Affiliated Entities

                On the date hereof, each of the affiliated entities listed below (including the debtor
in this chapter 11 case) filed in this Court a petition for relief under chapter 11 of title 11 of the
United States Code, 11 U.S.C. §§ 101 et seq. Contemporaneously with the filings of these
petitions, such entities filed a motion requesting joint administration of their chapter 11 cases.


 Pioneer Coiled Tubing Services, LLC
 Pioneer Drilling Services, Ltd.
 Pioneer Energy Services Corp.
 Pioneer Fishing & Rental Services, LLC
 Pioneer Global Holdings, Inc.
 Pioneer Production Services, Inc.
 Pioneer Services Holdings, LLC
 Pioneer Well Services, LLC
 Pioneer Wireline Services Holdings, Inc.
 Pioneer Wireline Services, LLC
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         ACTION BY WRITTEN CONSENT OF THE GOVERNING BODIES OF

                       PIONEER COILED TUBING SERVICES, LLC
                          PIONEER DRILLING SERVICES, LTD.
                          PIONEER ENERGY SERVICES CORP.
                     PIONEER FISHING & RENTAL SERVICES, LLC
                          PIONEER GLOBAL HOLDINGS, INC.
                        PIONEER PRODUCTION SERVICES, INC.
                         PIONEER SERVICES HOLDINGS, LLC
                            PIONEER WELL SERVICES, LLC
                    PIONEER WIRELINE SERVICES HOLDINGS, INC.
                          PIONEER WIRELINE SERVICES, LLC

                                        February 28, 2020

               The required members of the board of directors, the sole member, or the managing
member, as the case may be (as applicable, the “Governing Body”), of each of the entities
referenced above (each, a “Company,” and collectively, the “Group”), do hereby consent to, adopt,
and approve, by written consent in accordance with, as applicable, Section 141(f) of the Delaware
General Corporation Law, Section 18-302(d) and Section 18-404(d) of the Delaware Limited
Liability Company Act, and Section 21.415 of the Texas Business Organizations Code, the
following resolutions and each and every action effected thereby:

                WHEREAS, the Governing Body of each Company has reviewed and had the
opportunity to ask questions about the materials presented by the management and the legal and
financial advisors of such Company regarding (i) the liabilities and liquidity of such Company and
the Group, (ii) the financial and operational condition of the Group, including the historic
performance of the Group and the assets of the Group, (iii) the energy industry generally, as well
as the oil and gas and oil field services industries specifically, and credit market conditions, (iv)
the strategic alternatives available to it, and (v) the impact of the foregoing on such Company’s
businesses;

                WHEREAS, the Governing Body of each Company has had the opportunity to
consult with the management and the legal and financial advisors of the Company to fully consider
each of the strategic alternatives available to such Company;

               WHEREAS, the Governing Body of each Company has received, reviewed and
considered the recommendations of, and the materials presented by, the management of the
Company and the Company’s legal, financial and other advisors as to the relative risks and benefits
of pursuing a case under the provisions of chapter 11 of title 11 of the United States Code (the
“Bankruptcy Code”);

                WHEREAS, the Governing Body of each Company has reviewed and considered
the Company’s need for financing in connection with a chapter 11 case under the Bankruptcy
Code, and has determined that it is in the best interests of the Company, its creditors and other
interested parties, for the Company and certain of its subsidiaries to enter into the DIP Credit
Agreement (as defined below) and one or more related agreements and amendments thereto with
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the financial institutions from time to time party thereto, pursuant to which the Group will obtain
post-petition debtor-in-possession financing to fund their chapter 11 cases and grant the first
priority priming liens required thereby; and

               WHEREAS, the Governing Body of each Company believes that taking the actions
set forth below is in the best interests of the Company and, therefore, desires to approve the
following resolutions.

I.     Commencement of Chapter 11 Case

               NOW, THEREFORE, BE IT RESOLVED, that the Governing Body of each
Company has determined, after due consultation with the management and the legal and financial
advisors of such Company, that it is desirable and in the best interests of the Company, its creditors,
and other parties in interest that a petition be filed by each Company seeking relief under the
provisions of the Bankruptcy Code; and be it further

                RESOLVED, that any manager, member, officer, or director of each such
 Company (each, an “Authorized Person”), in each case, acting singly or jointly, be, and each
 hereby is, authorized, empowered, and directed to execute and file in the name and on behalf of
 each Company, and under its corporate seal or otherwise, all plans, petitions, schedules,
 statements, motions, lists, applications, pleadings, orders, and other documents in the United
 States Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”), and, in
 connection therewith, to employ and retain all assistance by legal counsel, accountants, financial
 advisors, investment bankers, and other professionals, and to take and perform any and all further
 acts and deeds which such Authorized Person, who may act without the joinder of any other
 Authorized Person, deems necessary, proper, or desirable in connection with each Company’s
 chapter 11 case (each case, a “Chapter 11 Case”), including negotiating, executing, delivering,
 and performing any and all documents, agreements, certificates, and instruments in connection
 with the transactions and professional retentions set forth in this resolution, with a view to the
 successful prosecution of such Chapter 11 Case; and be it further

II.    Retention of Advisors

                RESOLVED, that the law firms of (i) Paul, Weiss, Rifkind, Wharton & Garrison
LLP, located at 1285 Avenue of the Americas, New York, New York 10019, and (ii) Norton Rose
Fulbright US LLP, located at 1301 McKinney St., Suite 5100, Houston, TX 77010, are hereby
retained as attorneys for each Company in each Chapter 11 Case, subject to Bankruptcy Court
approval; and be it further

               RESOLVED, that Lazard Frères & Co., LLC, located at 30 Rockefeller Plaza,
New York, New York 10112, is hereby retained as investment banker for each Company in each
Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

               RESOLVED, that Alvarez & Marsal North America, LLC, located at 540 West
Madison Street, Suite 1800, Chicago, Illinois 60661, is hereby retained as financial advisor for
each Company in each Chapter 11 Case, subject to Bankruptcy Court approval; and be it further
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                RESOLVED, that Epiq Corporate Restructuring, LLC, located at 777 Third
Avenue, 12th Floor, New York, New York 10017, is hereby retained as claims, noticing,
solicitation and administrative agent for each Company in each Chapter 11 Case, subject to
Bankruptcy Court approval; and be it further

III.   Debtor-in-Possession Financing

                RESOLVED, that in connection with each Chapter 11 Case, it is in the best interest
of each Company to engage in, and each Company will obtain benefits from, the lending
transactions under a senior secured debtor-in-possession credit facility in an aggregate principal
amount of $75,000,000 (the “DIP Financing”) to be evidenced by that certain Debtor-in-
Possession Credit Agreement (together with the exhibits and schedules attached thereto, the “DIP
Credit Agreement”) to be entered into by Pioneer Energy Services Corp., as parent and borrower
(“Pioneer”), the other borrowers party thereto, PNC Bank, National Association, as administrative
agent (in such capacity, the “DIP Agent”), and the lenders from time to time party thereto (the
“DIP Lenders”), subject to approval by the Bankruptcy Court, which is necessary and appropriate
to the conduct, promotion, and attainment of the business of the Companies; and be it further

                 RESOLVED, that each Company be, and it hereby is, authorized to secure the
payment and performance of the obligations under the DIP Credit Agreement (the “DIP
Obligations”) by (i) pledging to the agent or lender(s) under the DIP Credit Agreement or granting
to agent or lender(s) under the DIP Credit Agreement a lien or mortgage on or security interest in,
all or any portion of the Company’s property or interests in property as set forth in the DIP Credit
Agreement or any other agreements or documents related thereto and (ii) entering into such
security agreements, pledge agreements, intercreditor agreements, mortgages, control agreements,
and other agreements (including, without limitation, certificates, documents and instruments
authorized, executed, delivered, reaffirmed, verified and/or filed in connection with the DIP
Financing) as are necessary, appropriate or desirable to effectuate the intent of, or matters
reasonably contemplated or implied by, these resolutions in such form and having such terms and
conditions as are approved or deemed necessary, appropriate or desirable by the Authorized Person
executing the same (collectively with the DIP Credit Agreement, the “DIP Financing
Documents”), the execution thereof by such Authorized Person to be conclusive evidence of such
approval or determination; and it is further

                RESOLVED, that any Authorized Person is hereby authorized, empowered, and
directed, in the name and on behalf of each applicable Company, to cause such Company to
negotiate and approve the terms, provisions of and performance of, and to prepare, execute and
deliver the DIP Financing Documents to which such Company is a party, in the name and on behalf
of such Company under its corporate seal or otherwise, and such other documents, agreements,
instruments, and certificates as may be required by the DIP Agent or required by the DIP Financing
Documents; and be it further

                RESOLVED, that each Company is authorized to guarantee, as applicable, any
obligations of any party to the DIP Financing Documents and undertake any and all related
transactions contemplated under the DIP Financing Documents, including the granting of security
thereunder; and be it further
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                 RESOLVED, that any Authorized Person is hereby authorized to grant security
interests in, and liens on, any and all property of each applicable Company as collateral pursuant
to the DIP Financing Documents to secure all of the obligations and liabilities of Pioneer
thereunder and the other parties to the DIP Financing Documents to the DIP Lenders and the DIP
Agent, and to authorize, execute, verify, file and/or deliver to the DIP Agent, on behalf of each
applicable Company, all agreements, documents and instruments required by the DIP Agent and/or
the DIP Lenders in connection with the foregoing; and be it further

                 RESOLVED, that any Authorized Person is hereby authorized, empowered, and
directed, in the name and on behalf of each applicable Company, to take all such further actions,
including to pay all fees and expenses, in accordance with the terms of the DIP Financing
Documents, which shall, in such Authorized Person’s sole judgment, be necessary, proper, or
advisable to perform such Company’s obligations under or in connection with the DIP Financing
Documents and the transactions contemplated therein and to carry out fully the intent of the
foregoing resolutions; and be it further

                RESOLVED, that any Authorized Person is hereby authorized, empowered, and
directed, in the name and on behalf of each applicable Company, to execute and deliver any
amendments, supplements, modifications, renewals, replacements, consolidations, substitutions
and extensions of the DIP Financing Documents, which shall, in such Authorized Person’s sole
judgment, be necessary, desirable, proper or advisable; and be it further

IV.    General Authorization and Ratification

                 RESOLVED, that each Authorized Person be, and each, acting alone, hereby is,
authorized, empowered and directed, for and on behalf of such Company to (a) do and perform all
such acts and things and enter into, execute, acknowledge, deliver, and file all such certificates,
agreements, acknowledgments, instruments, contracts, statements, and other documents and to
take such further actions as such Authorized Person may deem necessary or appropriate to effect
the intent and accomplish the purposes of the foregoing resolutions, with the taking of any such
action by such Authorized Person being conclusive evidence that the same did meet such standards
as set forth above, (b) perform the obligations of the Company under the Bankruptcy Code, with
all such actions to be performed in such manner, and all such certificates, instruments, guaranties,
notices and documents to be executed and delivered in such form, as the officer performing or
executing the same shall approve, and the performance or execution thereof by such officer shall
be conclusive evidence of the approval thereof by such officer and by the Company and (c) pay
fees and expenses in connection with the transactions contemplated by the foregoing resolutions;
and be it further

                 RESOLVED, that any and all actions taken by an Authorized Person prior to the
date of adoption of the foregoing resolutions, which would have been authorized by the foregoing
resolutions but for the fact that such actions were taken prior to such date, be, and each hereby is,
ratified, approved, confirmed, and adopted as a duly authorized act of such Company in all respects
and for all purposes.

           [The rest of this page is left blank intentionally; the signature page follows.]
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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In re:                                                          Chapter 11

PIONEER ENERGY SERVICES CORP., et                               Case No. 20-[____] (___)
al., 1
                                                                (Joint Administration Requested)
                                   Debtors.


                CONSOLIDATED CORPORATE OWNERSHIP STATEMENT
                 AND LIST OF EQUITY INTEREST HOLDERS PURSUANT
                   TO FED. BANKR. P. 1007(a)(1), 1007(a)(3), AND 7007.1

         Pursuant to rules 1007(a)(1), 1007(a)(3) and 7007.1 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), attached hereto as Exhibit A is an organizational list

reflecting all of the ownership interests in Pioneer Energy Services Corp. (“Pioneer”) and its

debtor affiliates, as debtors and debtors in possession (collectively, the “Debtors”). The Debtors

respectfully represent as follows:

         1.      Each of the Debtors identified on Exhibit A is 100% owned by its direct parent.

         2.      Pioneer is the ultimate parent of each of the Debtors and its equity securities are

publicly held.      The following identifies all holders having an equity ownership interest in

Pioneer. 2


1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, if applicable, are as follows: Pioneer Energy Services Corp. (8619); Pioneer Coiled Tubing Services,
    LLC (6232); Pioneer Drilling Services, Ltd. (2497); Pioneer Fishing & Rental Services, LLC (4399); Pioneer
    Global Holdings, Inc. (4707); Pioneer Production Services, Inc. (1361); Pioneer Services Holdings, LLC
    (4706); Pioneer Well Services, LLC (7572); Pioneer Wireline Services Holdings, Inc. (6455); and Pioneer
    Wireline Services, LLC (2205). The headquarters for the above-captioned Debtors is 1250 N.E. Loop 410,
    Suite 1000, San Antonio, Texas 78209.
2
    This list reflects holders of five percent or more of Pioneer’s common stock and serves as the disclosure
    required to be made by the Debtors pursuant to Rule 1007 of the Bankruptcy Rules. Pioneer does not and
    cannot know the precise holdings or identity of the holders of its publicly held common stock. Thus, by
    separate motion filed contemporaneously herewith, the Debtors are requesting a waiver of the requirement
    under Rule 1007 to file a list of all of its equity security holders.
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Name                                 Kind/Class of Interest   Number of Interests
                                                              Held
Century Mgmt.                        Common Stock             9.20%
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                           Exhibit A
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          Debtor              Equity Holder(s)     Percentage of   Last Known Address of
                                                    Ownership           Equity Holder
                             Pioneer Energy       100%             1250 N.E. Loop 410
Pioneer Drilling Services,   Services Corp.                        Suite 1000
Ltd.                                                               San Antonio, Texas
                                                                   78209
                             Pioneer Energy       100%             1250 N.E. Loop 410
Pioneer Production           Services Corp.                        Suite 1000
Services, Inc.                                                     San Antonio, Texas
                                                                   78209
                             Pioneer Drilling     100%             1250 N.E. Loop 410
Pioneer Global Holdings,     Services, Ltd.                        Suite 1000
Inc.                                                               San Antonio, Texas
                                                                   78209
                             Pioneer Production   100%             1250 N.E. Loop 410
Pioneer Wireline Services    Services, Inc.                        Suite 1000
Holdings, Inc.                                                     San Antonio, Texas
                                                                   78209
                             Pioneer Wireline     100%             1250 N.E. Loop 410
Pioneer Wireline Services,   Services Holdings,                    Suite 1000
LLC                          Inc.                                  San Antonio, Texas
                                                                   78209
                             Pioneer Production   100%             1250 N.E. Loop 410
                             Services, Inc.                        Suite 1000
Pioneer Well Services, LLC
                                                                   San Antonio, Texas
                                                                   78209
                             Pioneer Production   100%             1250 N.E. Loop 410
Pioneer Fishing & Rental     Services, Inc.                        Suite 1000
Services, LLC                                                      San Antonio, Texas
                                                                   78209
                             Pioneer Production   100%             1250 N.E. Loop 410
Pioneer Coiled Tubing        Services, Inc.                        Suite 1000
Services, LLC                                                      San Antonio, Texas
                                                                   78209
                             Pioneer Global       100%             1250 N.E. Loop 410
Pioneer Services Holdings,   Holdings, Inc.                        Suite 1000
LLC                                                                San Antonio, Texas
                                                                   78209
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                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

    In re:                                                                          Chapter 11

    PIONEER ENERGY SERVICES CORP., et al.,                                          Case No. 19-[____] (___)

                                              Debtors.                              Joint Administration Requested




                            Attachment to Voluntary Petition for Non-Individuals
                                  Filing for Bankruptcy under Chapter 11

        1.      If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act
of 1934, the SEC file number is 1-8182.

        2.      The following financial data is the latest available information and refers to the debtor’s
condition on September 30, 2019.

             a.   Total assets (on a consolidated basis with all affiliated debtors)                                  $ 689,693,000 1
             b.   Total debts (including debts listed in 2.c., below)                                                 $ 689,693,000
                  (on a consolidated basis with all affiliated debtors)
             c.   Debt securities held by more than 500 holders                                                       See Below
                                                                                                                              Approximate
                                                                                                                              number of
                                                                                                                              holders:
                      secured Ƒ             unsecured ր             VXERUGLQDWHGƑ                 $300 million
                                                                                                   of Senior Notes due
                                                                                                   March 15, 2022             Unknown 2

                      VHFXUHGƑ             XQVHFXUHGƑ            VXERUGLQDWHGƑ                 $_________                 _____________
                      VHFXUHGƑ             XQVHFXUHGƑ             VXERUGLQDWHGƑ                 $_________                 _____________

             d.   Number of shares of preferred stock                                                                             0
             e.   Number of shares of common stock                                                                                79,579,571

             Comments, if any: ______________________________________________________________________

          3.       Brief description of debtor’s business: Pioneer Energy Services Corp. provides land-based
drilling services and production services to a diverse group of oil and gas exploration and production companies
in the United States and internationally in Colombia.


1     The total assets and total liabilities reflected herein are based upon the debtor’s latest publicly filed quarterly report. (See
      Pioneer Energy Services Corp. Form of 10-Q, Sept. 30, 2019 at p. 3.)
2     Pioneer Energy Services Corp. does not and cannot know the precise number of beneficial holders of any debt securities that
      it has issued.



Official Form 201A              Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy Under Chapter 11
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        4.      List the names of any person who directly or indirectly owns, controls, or holds, with power to
vote, 5% or more of the voting securities of debtor:

                        Century Mgmt.                                                         9.20%




Official Form 201A       Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy Under Chapter 11
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             Case 20-31425 Document 1 Filed in TXSB on 03/01/20 Page 25 of 26
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                      Case 20-31425 Document 1 Filed in TXSB on 03/01/20 Page 26 of 26


 Fill in this information to identify the case and this filing:

 Debtor Name        Pioneer Energy Services Corp.
 United States Bankruptcy Court for the:    Southern          District of   Texas
                                                                            (State)
 Case number (if known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                     12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the
document, and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the
identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.


             Declaration and signature


          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
          individual serving as a representative of the debtor in this case.
          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:



                    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                    Schedule H: Codebtors (Official Form 206H)

                    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

                    Amended Schedule ____

                    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

                    Other document that requires a declaration    Consolidated Corporate Ownership Statement and List of Equity Interest
                                                                  Holders



          I declare under penalty of perjury that the foregoing is true and correct.



           Executed on     3/01/2020                                  8     /s/ Lorne E. Phillips
                           MM / DD / YYYY                                   Signature of individual signing on behalf of debtor


                                                                            Lorne E. Phillips
                                                                            Printed name


                                                                            Chief Financial Officer
                                                                            Position or relationship to debtor




Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
